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                                    In the United States Bankruptcy Court
                                     for the Southern District of Georgia
In the matter of:                                                       )                                    Chapter 13 Case
Maria Lourdes Tresvant                                                  )
                                                                        )                                    Number         10-20624
                                         Debtor(s)                      )

                                                 CHAPTER 13 PLAN AND MOTION
                                                      [General Order 2005-3 Approved Form]

1. Debtor(s) shall pay to the Trustee the sum of $         827.00                                  for the applicable commitment period of:

          60 months: or                                                              (If applicable include the following): These plan payments
          a minimum of 36 months. § 1325(b)(4).                                      change to $__________monthly on __________, 20__.

2. From the payments so received, the Trustee shall make disbursements as follows:

    (a)    The Trustee percentage fee as set by the United States Trustee.

    (b) Attorney fees allowed pursuant to § 507(a)(2) of $          2,500.00        to be paid in accordance with applicable General Orders
        of this Court.

    (c) Other § 507 claims, unless provided for otherwise in the plan will be paid in full over the life of the plan as funds become
        available in the order specified by law.

    (d)         Monthly payments according to the contract on the following long-term debts. § 1322(b)(5). (Payments which become
                due after the filing of the petition but before the month of the first payment designated here will be added to the pre-
                petition arrearage claim):

                   CREDITOR                          MONTH OF FIRST TRUSTEE PAYMENT                INITIAL MONTHLY PAYMENT


          IN THE ALTERNATIVE:
               Debtor will make post-petition payments direct to creditor according to the contract on the following long-term debts:

                  CREDITOR                                                                   INITIAL MONTHLY PAYMENT
                BENEFICIAL MORTGAGE                                                                       1,132.01


    (e)      Fully Secured Allowed Claims and Executory Contracts as set forth below:

             CREDITOR                     COLLATERAL             ESTIMATED CLAIM             INTEREST RATE      MONTHLY PAYMENTS(Est.)*




    (f)      Undersecured Allowed Claims. Debtor moves to value the collateral partially securing the following claims pursuant to
             § 506 and provide payment in satisfaction of those claims as set forth below:

             CREDITOR                     COLLATERAL                   VALUATION             INTEREST RATE          MONTHLY PAYMENTS




*   Payment amount is estimated because the Claim is estimated. It will be adjusted according to the actual allowed secured claim.
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     (g) Cure payments on allowed prepetition arrearage claims as set forth below. § 1322(b)(5):

                                CREDITOR                                                      ESTIMATED PREPETITION CLAIM




     (h) The following unsecured allowed claims are classified to be paid at 100%          with interest at ____%;     without interest.

        (i) Allowed general unsecured claims, including the unsecured portion of any bifurcated claims provided for in ¶ 2(f) or 6, will
            be paid a    100.0 % dividend or a prorata share of $                                    , whichever is greater.

3.   Debtor will make § 1326(a)(1) pre-confirmation lease and adequate protection payments on allowed claims of the following
     creditors:       Direct to the Creditor; or           To the Trustee

                                CREDITOR                                   ADEQUATE PROTECTION OR LEASE PAYMENT AMOUNT




4.   Debtor will pay all post-petition domestic support obligations direct to the holder of such claim identified here. § 101(14A).
     Debtor requests Trustee to provide the statutory notice of § 1302(d) to these claimants.

                                CREDITOR                                                             ADDRESS




5.   Pursuant to 11 U.S.C. § 522(f), debtor moves to avoid the liens of the following creditors, upon confirmation but subject to § 349,
     with respect to the property described below:

                                CREDITOR                                                             PROPERTY
     CITIFINANCIAL                                                         HHG/Furnishings, Etc.
     STERLING FINANCE                                                      HHG/Furnishings, Etc.

6.   The following collateral is surrendered to the creditor to satisfy the secured claim to the extent shown below:

                      CREDITOR                      DESCRIPTION OF COLLATERAL                      AMOUNT OF CLAIM SATISFIED




7.   Holders of allowed secured claims shall retain the liens securing said claims to the full extent provided by § 1325(a)(5).

8.   Other Provisions:




9.   The amount, and secured or unsecured status, of claims disclosed in this Plan are based upon debtor's best estimate and belief.
     An allowed proof of claim will supercede those estimated claims. Objections to claims may be filed before or after confirmation.
     Debtor will increase payments in the amount necessary to fund allowed claims as this Plan proposes, after notice from the Trustee
     and a hearing if necessary, unless a Plan Modification is approved.


Dated      5/11/10                                                   /s/ Maria Lourdes Tresvant


                                                                     /s/
